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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    PRECISION TOXICOLOGY, LLC                       Case No. 3:20-cv-02135-BEN-RBB
      D/B/A PRECISION DIAGNOSTICS,
12                                                    ORDER GRANTING JOINT MOTION
                                   Plaintiff,         FOR STIPULATED PROTECTIVE
13                                                    ORDER [ECF NO. 34]
                 vs.
14
   STEPHANIE CERNI CRONE, an
15 individual, and ELEVATE
   TOXICOLOGY INC., a Colorado
16 corporation,

17                              Defendants.
                                                      Judge:   Hon. Roger T. Benitez
18    STEPHANIE CERNI CRONE, an                       Place:   Courtroom 5A
      individual
19
                       Counter-Complainant,
20
                 vs.
21
   PRECISION TOXICOLOGY, LLC, a
22 California Limited Liability Company;
   JASON HANSON, an individual; and
23 DOES 1-25,

24                      Counter-Defendants.
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 1          The Court recognizes that at least some of the documents and information
 2    (“materials”) being sought through discovery in the above-captioned action are, for
 3    competitive reasons, normally kept confidential by the parties. The parties have agreed to
 4    be bound by the terms of this Protective Order (“Order”) in this action. The materials to be
 5    exchanged throughout the course of the litigation between the parties may contain trade
 6    secret or other confidential research, technical, cost, price, marketing or other commercial
 7    information, as is contemplated by Federal Rule of Civil Procedure 26(c)(1)(G). The
 8    purpose of this Order is to protect the confidentiality of such materials as much as practical
 9    during the litigation. THEREFORE:
10    DEFINITIONS
11          1.     The term “confidential information” will mean and include information
12    contained or disclosed in any materials, including documents, portions of documents,
13    answers to interrogatories, responses to requests for admissions, trial testimony, deposition
14 testimony, and transcripts of trial testimony and depositions, including data, summaries,

15 and compilations derived therefrom that is deemed to be confidential information by any

16 party to which it belongs.

17          2.     The term “materials” will include, but is not be limited to: documents;
18 correspondence; memoranda; bulletins; blueprints; specifications; customer lists or other

19 material that identify customers or potential customers; price lists or schedules or other

20 matter identifying pricing; minutes; telegrams; letters; statements; cancelled checks;

21 contracts; invoices; drafts; books of account; worksheets; notes of conversations; desk

22 diaries; appointment books; expense accounts; recordings; photographs; motion pictures;

23 compilations from which information can be obtained and translated into reasonably usable

24 form through detection devices; sketches; drawings; notes (including laboratory notebooks

25 and records); reports; instructions; disclosures; other writings; models and prototypes and

26 other physical objects.

27          3.     The term “counsel” will mean outside counsel of record, and other attorneys,
28 paralegals, secretaries, and other support staff employed in the law firms identified below:


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 1                Foley & Lardner LLP, outside counsel of record for Plaintiff and Counter-
 2                 Defendant    Precision    Toxicology,   LLC     dba    Precision   Diagnostics
 3                 (“Plaintiff”). “Counsel” also includes Jennifer Lieberman and Darrel Taylor,
 4                 in-house attorneys for Plaintiff.
 5                San Diego Biz Law APC, outside counsel of record for Defendant and
 6                 Counter-Complainant Stephanie Cerni Crone and Defendant Elevate
 7                 Toxicology, Inc (“Defendants”).
 8 GENERAL RULES

 9          4.     Each party to this litigation that produces or discloses any materials, answers
10    to interrogatories, responses to requests for admission, trial testimony, deposition
11    testimony, and transcripts of trial testimony and depositions, or information that the
12    producing party believes should be subject to this Protective Order may designate the same
13    as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
14                 a.    Designation as “CONFIDENTIAL”: Any party may designate
15 information as “CONFIDENTIAL” only if, in the good faith belief of such party and its

16    counsel, the unrestricted disclosure of such information could be potentially prejudicial to
17    the business or operations of such party.
18                 b.    Designation as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
19 ONLY”: Any party may designate information as “HIGHLY CONFIDENTIAL –

20 ATTORNEYS’ EYES ONLY” only if, in the good faith belief of such party and its counsel,

21 the information is among that considered to be most sensitive by the party, including but

22 not limited to trade secret or other confidential research, development, financial or other

23 commercial information.

24          5.     In the event the producing party elects to produce materials for inspection, no
25 marking need be made by the producing party in advance of the initial inspection. For

26 purposes of the initial inspection, all materials produced will be considered as “HIGHLY

27 CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” and must be treated as such pursuant

28 to the terms of this Order. Thereafter, upon selection of specified materials for copying by


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 1    the inspecting party, the producing party must, within a reasonable time prior to producing
 2    those materials to the inspecting party, mark the copies of those materials that contain
 3    confidential information with the appropriate confidentiality marking.
 4          6.     Whenever a deposition taken on behalf of any party involves a disclosure of
 5 confidential information of any party:

 6                a.     the deposition or portions of the deposition must be designated as
 7                       containing confidential information subject to the provisions of this
 8                       Order; such designation must be made on the record whenever possible,
 9                       but a party may designate portions of depositions as containing
10                       confidential information after transcription of the proceedings; [A]
11                       party will have until fourteen (14) days after receipt of the deposition
12                       transcript to inform the other party or parties to the action of the
13                       portions of the transcript to be designated “CONFIDENTIAL” or
14                       “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
15                b.     the disclosing party will have the right to exclude from attendance at
16                       the deposition, during such time as the confidential information is to be
17                       disclosed, any person other than the deponent, counsel (including their
18                       staff and associates), the court reporter, and the person(s) agreed upon
19                       pursuant to paragraph 8 below; and
20                c.     the originals of the deposition transcripts and all copies of the
21                       deposition must bear the legend “CONFIDENTIAL” or “HIGHLY
22                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” as appropriate,
23                       and the original or any copy ultimately presented to a court for filing
24                       must not be filed unless it can be accomplished under seal, identified as
25                       being subject to this Order, and protected from being opened except by
26                       order of this Court.
27          7.    All confidential information designated as “CONFIDENTIAL” or “HIGHLY
28 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” must not be disclosed by the receiving


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 1    party to anyone other than those persons designated within this order and must be handled
 2    in the manner set forth below and, in any event, must not be used for any purpose other
 3    than in connection with this litigation, unless and until such designation is removed either
 4 by agreement of the parties, or by order of the Court.

 5          8.     Information designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
 6 EYES ONLY” must be viewed only by counsel (as defined in paragraph 3) of the receiving

 7 party, and by independent experts under the conditions set forth in this Paragraph. The right

 8 of any independent expert to receive any confidential information will be subject to the

 9 advance approval of such expert by the producing party or by permission of the Court. The

10 party seeking approval of an independent expert must provide the producing party with the

11 name and curriculum vitae of the proposed independent expert, and an executed copy of

12 the form attached hereto as Exhibit A, in advance of providing any confidential information

13 of the producing party to the expert. Any objection by the producing party to an

14 independent expert receiving confidential information must be made in writing within

15 fourteen (14) days following receipt of the identification of the proposed expert.

16 Confidential information may be disclosed to an independent expert if the fourteen (14)

17    day period has passed and no objection has been made. The approval of independent
18    experts must not be unreasonably withheld.
19          9.     Information designated “CONFIDENTIAL” must be viewed only by counsel
20    (as defined in paragraph 3) of the receiving party, by independent experts (pursuant to the
21    terms of paragraph 8), by court personnel, and by the additional individuals listed below,
22    provided each such individual has read this Order in advance of disclosure and has agreed
23    in writing to be bound by its terms:
24                 a.    Executives who are required to participate in policy decisions with
25                       reference to this action;
26                 b.    Technical personnel of the parties with whom Counsel for the parties
27                       find it necessary to consult, in the discretion of such counsel, in
28                       preparation for trial of this action; and


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 1                  c.    Stenographic and clerical employees associated with the individuals
 2                        identified above.
 3            10.   With respect to material designated “CONFIDENTIAL” or “HIGHLY
 4    CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” any person indicated on the face of
 5    the document to be its originator, author or a recipient of a copy of the document, may be
 6    shown the same.
 7            11.   All information which has been designated as “CONFIDENTIAL” or
 8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by the producing or
 9    disclosing party, and any and all reproductions of that information, must be retained in the
10    custody of the counsel for the receiving party identified in paragraph 3, except that
11    independent experts authorized to view such information under the terms of this Order may
12    retain custody of copies such as are necessary for their participation in this litigation.
13            12.   Before any materials produced in discovery, answers to interrogatories,
14    responses to requests for admissions, deposition transcripts, or other documents which are
15    designated as confidential information are filed with the Court for any purpose, the party
16    seeking to file such material must seek permission of the Court to file the material under
17    seal.
18            13.   At any stage of these proceedings, any party may object to a designation of
19    the materials as confidential information. The party objecting to confidentiality must
20    notify, in writing, counsel for the designating party of the objected-to materials and the
21    grounds for the objection. If the dispute is not resolved consensually between the parties
22    within seven (7) days of receipt of such a notice of objections, the objecting party may
23    move the Court for a ruling on the objection. The materials at issue must be treated as
24    confidential information, as designated by the designating party, until the Court has ruled
25    on the objection or the matter has been otherwise resolved.
26            14.   All confidential information must be held in confidence by those inspecting
27 or receiving it, and must be used only for purposes of this action. Counsel for each party,

28 and each person receiving confidential information must take reasonable precautions to


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 1    prevent the unauthorized or inadvertent disclosure of such information. If confidential
 2    information is disclosed to any person other than a person authorized by this Order, the
 3    party responsible for the unauthorized disclosure must immediately bring all pertinent facts
 4    relating to the unauthorized disclosure to the attention of the other parties and, without
 5    prejudice to any rights and remedies of the other parties, make every effort to prevent
 6    further disclosure by the party and by the person(s) receiving the unauthorized disclosure.
 7          15.    No party will be responsible to another party for disclosure of confidential
 8    information under this Order if the information in question is not labeled or otherwise
 9    identified as such in accordance with this Order.
10          16.    If a party, through inadvertence, produces any confidential information
11    without labeling or marking or otherwise designating it as such in accordance with this
12    Order, the designating party may give written notice to the receiving party that the
13    document or thing produced is deemed confidential information, and that the document or
14    thing produced should be treated as such in accordance with that designation under this
15    Order. The receiving party must treat the materials as confidential, once the designating
16    party so notifies the receiving party. If the receiving party has disclosed the materials before
17    receiving the designation, the receiving party must notify the designating party in writing
18    of each such disclosure. Counsel for the parties will agree on a mutually acceptable manner
19    of labeling or marking the inadvertently produced materials as “CONFIDENTIAL” or
20    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” - SUBJECT TO
21    PROTECTIVE ORDER.
22          17.    Nothing within this order will prejudice the right of any party to object to the
23    production of any discovery material on the grounds that the material is protected as
24    privileged or as attorney work product.
25          18.    Nothing in this Order will bar counsel from rendering advice to their clients
26    with respect to this litigation and, in the course thereof, relying upon any information
27    designated as confidential information, provided that the contents of the information must
28    not be disclosed.


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 1          19.    This Order will be without prejudice to the right of any party to oppose
 2    production of any information for lack of relevance or any other ground other than the mere
 3    presence of confidential information. The existence of this Order must not be used by either
 4    party as a basis for discovery that is otherwise improper under the Federal Rules of Civil
 5    Procedure.
 6          20.    Nothing within this order will be construed to prevent disclosure of
 7    confidential information if such disclosure is required by law or by order of the Court.
 8          21.    Upon final termination of this action, including any and all appeals, counsel
 9    for each party must, upon request of the producing party, return all confidential information
10    to the party that produced the information, including any copies, excerpts, and summaries
11    of that information, or must destroy same at the option of the receiving party, and must
12    purge all such information from all machine-readable media on which it resides.
13    Notwithstanding the foregoing, counsel for each party may retain all pleadings, briefs,
14    memoranda, motions, and other documents filed with the Court that refer to or incorporate
15    confidential information, and will continue to be bound by this Order with respect to all
16    such retained information. Further, attorney work product materials that contain
17    confidential information need not be destroyed, but, if they are not destroyed, the person
18    in possession of the attorney work product will continue to be bound by this Order with
19    respect to all such retained information.
20          22.    The restrictions and obligations set forth within this order will not apply to
21    any information that: (a) the parties agree should not be designated confidential
22    information; (b) the parties agree, or the Court rules, is already public knowledge; (c) the
23    parties agree, or the Court rules, has become public knowledge other than as a result of
24    disclosure by the receiving party, its employees, or its agents in violation of this Order; or
25    (d) has come or will come into the receiving party's legitimate knowledge independently
26    of the production by the designating party. Prior knowledge must be established by
27    preproduction documentation.
28    ///


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 1          23.    The restrictions and obligations within this order will not be deemed to
 2    prohibit discussions of any confidential information with anyone if that person already has
 3    or obtains legitimate possession of that information.
 4          24.    Transmission by email or some other currently utilized method of
 5    transmission is acceptable for all notification purposes within this Order.
 6          25.    This Order may be modified by agreement of the parties, subject to approval
 7    by the Court.
 8          26.    The Court may modify the terms and conditions of this Order for good cause,
 9    or in the interest of justice, or on its own order at any time in these proceedings. The parties
10    prefer that the Court provide them with notice of the Court's intent to modify the Order and
11    the content of those modifications, prior to entry of such an order.
12          27.    No items will be electronically filed under seal without a prior application to,
13    and order from, the judge presiding over the hearing or trial. Only when the judge presiding
14    over the hearing or trial permits filing an item or items under seal may confidential material
15    be filed with the Court under seal. Whenever the Court grants a party permission to file an
16    item under seal, a duplicate disclosing all nonconfidential information shall be filed and
17    made part of the public record. The item may be redacted to eliminate confidential material
18    from the public document. The public document shall be titled to show that it corresponds
19    to an item filed under seal, e.g., “Redacted Copy of Sealed Declaration of John Smith in
20    Support of Motion for Summary Judgment.” The public redacted documents shall be filed
21    within twenty-four hours of the Court order authorizing the filing of a document under seal.
22          IT IS SO ORDERED this 25th day of May, 2021.
23

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25                                              Hon. Ruben B. Brooks
                                                United States Magistrate Judge
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 1                                              EXHIBIT A
 2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4            I,                                                       [print or type full name], of
 5                                                                        [print or type full address],
 6    declare under penalty of perjury that I have read in its entirety and understand the Stipulated
 7    Protective Order that was issued by the United States District Court for the Southern
 8    District of California on ______________________________[date] in the case of
 9    Precision Toxicology, LLC d/b/a Precision Diagnostics v. Stephanie Cerni Crone and
10    Elevate Toxicology Inc., Southern District of California, Case No. 3:20-CV-02135-BEN-
11    RBB. I agree to comply with and to be bound by all the terms of this Stipulated Protective
12    Order, and I understand and acknowledge that failure to so comply could expose me to
13    sanctions and punishment in the nature of contempt. I solemnly promise that I will not
14    disclose in any manner any information or item that is subject to this Stipulated Protective
15    Order to any person or entity except in strict compliance with the provisions of this Order.
16            I further agree to submit to the jurisdiction of the United States District Court for the
17    Southern District of California for the purpose of enforcing the terms of this Stipulated
18    Protective Order, even if such enforcement proceedings occur after termination of this
19    action.
20

21    Date:
22    City and State where sworn and signed:
23    Printed name:
24

25    Signature:
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